AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No. 1:22Ms. 913

Information associated with Instagram username
910kevv stored at premises controlled by Meta
Platforms, Inc.

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

Se ESSE’

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A

located in the Northern District of California , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed;
wv property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 922(g)(1) Possession of a firearm by a convicted felon
18 U.S.C. § 922(0) Possession of a Machine gun
18 U.S.C. § 933 Firearms Trafficking

The application is based on these facts:
See Affidavit of Special Agent Carmen E. L. Basgall

af Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

/s/ Carmen E. L. Basgall

 

Applicant’s signature

Carmen E. L. Basgall, Special Agent (ATF)

 

Printed name and title

On this day, the applicant appeared before me via reliable electronic means, that is by telephone, was placed under
oath, and attested to the contents of this Application for a search warrant in accordance with the requirements of

Fed. R. Crimy P. 9
Date: 5 | 20 Le Capt Eth Selah
Judge’s signature

City and state: Winston-Salem, North Carolina The Hon. Joi Elizabeth Peake, U.S. Magistrate Judge

 

Printed name and title

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF THE SEARCH OF

INFORMATION ASSOCIATED WITH Case No. 1: 2EMS 313
INSTAGRAM ACCOUNT 910kevv THAT
IS STORED AT PREMISES CONTROLLED
BY META PLATFORMS, INC.

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Carmen E. L. Basgall, a Special Agent with the Federal Bureau of Alcohol, Tobacco,

Firearms, and Explosives, being duly sworn, depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with a certain Instagram account that is stored at premises owned,
maintained, controlled, or operated by Meta Platforms, Inc. (“Meta”), an electronic
communications service and/or remote computing service provider headquartered at 1601
Willow Road in Menlo Park, California. The information to be searched is described in the
following paragraphs and in Attachment A. This affidavit is made in support of an application
for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require
Meta to disclose to the government copies of the information (including the content of
communications) further described in Section I of Attachment B. Upon receipt of the
information described in Section I of Attachment B, government-authorized persons will review
that information to locate the items described in Section II of Attachment B.

2. Iam a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) and have been since June 2020. Prior to working with ATF, I graduated

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from Appalachian State University in August 2015 with a bachelor’s degree in Criminal Justice
and December 2016 with a master’s degree in Public Administration. I was employed as a
Special Agent with North Carolina Alcohol Law Enforcement from June 2017 until June 2020. I
have received various training including the Criminal Investigator Training Program at the
Federal Law Enforcement Training Center located in Glynco, Georgia, the Special Agent Basic
Training Program at the ATF National Academy, North Carolina Basic Law Enforcement
Training, The North Carolina Alcohol Law Enforcement Special Agent Training Academy, and
North Carolina Police Law Institute. The aforementioned trainings included formal training in
affidavit and search warrant preparation as well as formal education in federal firearms laws. I
am currently assigned to ATF’s Charlotte Field Division and stationed at the Fayetteville Field
Office.

3. During the course of my employment with ATF, I have been personally involved
in a number of firearms trafficking, manufacturing, and possession cases. My training and
experience in the investigation of the illegal possession and trafficking of firearms has provided
me with information concerning the normal patterns and procedures through which individuals
acquire, store, maintain, and/or manufacture firearms. I have had discussions with senior ATF
agents with further experience and/or expertise in conducting investigations related to
individuals who unlawfully possess and traffic in firearms. As a result of my own personal
experiences, the training I have received, and the information that I have obtained from working
with other experienced ATF agents, I am familiar with violations of Federal Firearms Laws.

4. This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.

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5.

Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of:

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b.
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18 U.S.C. § 922(g)(1), which prohibits a person who has been convicted in any
court of, a crime punishable by imprisonment for a term exceeding one year from
possessing a firearm;

18 U.S.C. § 922(0), which prohibits a person from transferring or possessing a
machinegun; and

18 U.S.C. § 933, which prohibits a for a person from transferring or receiving, or
attempting or conspiring to transfer or receive, a firearm if they know or have
reasonable cause to believe the use, carrying, possession, or receipt would
constitute any Federal or State felony;

have been committed by KEVIN RAY FRIER.

Additionally, I am aware through my training and experience that:

Persons involved in the unlawful sale, possession, and/or manufacture of firearms
often take photographs or videos of themselves with firearms and post these
photographs and videos on social media platforms such as Facebook and Instagram.
Persons often utilize social media platforms to send text messages, direct messages,
or video chat, in reference to, their unlawful possession, manufacture, and/or
acquisition of firearms.

I believe there is also probable cause to search the information described in

Attachment A for evidence, instrumentalities, contraband, and/or fruits of these crimes further

described in Attachment B.

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JURISDICTION

8. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &
(c)(1)(A). Specifically, the Court is “a district court of the United States .. . that has jurisdiction
over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(@).

PROBABLE CAUSE

9. On Friday July 29, 2022, this affiant was made aware an individual identified as
KEVIN RAY FRIER by other law enforcement agencies, was utilizing his Instagram account
“O10Kevwv,” hereafter referred to as the SUBJECT ACCOUNT, to advertise the sale of “Glock
switch” devices. A “Glock Switch” is a device that, when affixed to the rear of a pistol, converts
the firearm from semiautomatic fire to fully automatic fire. “Glock Switches” have been previously
ruled as firearms and machineguns themselves by ATF’s Firearms and Technology Division
(FATD).

10. Upon visiting the SUBJECT ACCOUNT, this affiant observed the following

photograph date stamped as “May 15.”

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ig 910kevv « Follow ves

 

19 likes

910kevyv Hmu
View all 3 comments

MAY 15

 

Use the App x

11. The above photograph depicts a device consistent with this Affiant’s knowledge
and training to be a “Glock Switch” device. The skeletal tattoo depicted on the hand of the

individual in the above photograph has been previously identified by law enforcement as

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belonging to FRIER. According to the caption on the photograph, it appears that FRIER is
attempting to sell the devices for $120 per device.

12. This affiant was also able to view the below photograph date stamped “May 20”.
< Photo

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VY QV W
18 likes
910kevv HMU

View all 8 comments
MAY 20

Use the App x

13. The above photograph again depicts a device consistent with this Affiant’s

knowledge and training to be a “Glock Switch” device. The skeletal tattoo depicted on the hand

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of the individual in the above photograph has been identified by law enforcement as belonging to
FRIER. According to the caption on the photograph, it appears that FRIER is attempting to sell a
completely plastic version of the devices for $50 per device.

14. On Friday July 29, 2022, this affiant submitted a preservation request to Meta
Platforms Inc., for the SUBJECT ACCOUNT.

15. On Sunday July 31, 2022, this Affiant was notified additional content had been
posted to the SUBJECT ACCOUNT. This Affiant was able to observe a portion of the

SUBJECT ACCOUNT?’S “story” and the following screenshot.

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16. The above photograph appears to be what this Affiant knows through training and
experience to be a Polymer80 “80% Pistol Frame Kit.” A Polymer80 “80% Pistol Frame Kit” is a
kit that can be utilized by individuals to manufacture a firearm. The SUBJECT ACCOUNT
appears to be asking for $100 in exchange for the kit depicted in the photograph.

17. ‘This Affiant was also able to view a video where the following screenshot was

obtained from the same “story” from the SUBJECT ACCOUNT.

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18. The above screenshot was obtained from a video also posted to the SUBJECT
ACCOUNT?’S “story” wherein an individual shoots a firearm that appears in this Affiant’s training
and experience to shoot with a fully automatic rate of fire. The shooter depresses the trigger once
and multiple rounds of ammunition are fired off in rapid succession without the need to depress
the trigger another time. Affixed to the rear of the pistol in the photograph is what this Affiant
recognizes to be consistent with a “Glock Switch” device. The caption “Lmk if you need it” invites
viewers of the “story” to contact the SUBJECT ACCOUNT if they desire to obtain a “Glock
Switch.”

19. This Affiant also showed the video to North Carolina State Bureau of Investigation
S/A Tyner and inquired if she would be able to identify the individual shooting the automatic
firearm in the video. S/A Tyner advised she was able to identify the individual in the video as
FRIER because she recognized the tattoos visible in the video as belonging to FRIER.

20. Based on the above information, there is probable cause to believe that violations
of 18 U.S.C. §§ 922(g¢)(1), 922(0), and 933 have been committed, are being committed, and/or
will continue to be committed by FRIER and evidence thereof exists within the posts, photographs,
messages, and other data pertaining to the SUBJECT ACCOUNT.

BACKGROUND CONCERNING INSTAGRAM!

21. Instagram is a service owned by Meta, a United States company and a provider of

an electronic communications service as defined by 18 U.S.C. §§ 3127(1) and 2510.

 

' The information in this section is based on information published by Meta on its Instagram
website, including, but not limited to, the following webpages: “Privacy Policy,”
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Specifically, Instagram is a free-access social networking service, accessible through its website
and its mobile application, that allows subscribers to acquire and use Instagram accounts, like the
target account(s) listed in Attachment A, through which users can share messages, multimedia,
and other information with other Instagram users and the general public.

22. Meta collects basic contact and personal identifying information from users
during the Instagram registration process. This information, which can later be changed by the
user, may include the user’s full name, birth date, gender, contact e-mail addresses, physical
address (including city, state, and zip code), telephone numbers, credit card or bank account
number, and other personal identifiers. Meta keeps records of changes made to this information.

23. Meta also collects and retains information about how each user accesses and uses
Instagram. This includes information about the Internet Protocol (“IP’’) addresses used to create
and use an account, unique identifiers and other information about devices and web browsers
used to access an account, and session times and durations.

24. Each Instagram account is identified by a unique username chosen by the user.
Users can change their usernames whenever they choose but no two users can have the same
usernames at the same time. Instagram users can create multiple accounts and, if “added” to the
primary account, can switch between the associated accounts on a device without having to
repeatedly log-in and log-out.

25. Instagram users can also connect their Instagram and Facebook accounts to utilize

certain cross-platform features, and multiple Instagram accounts can be connected to a single

 

https://privacycenter.instagram.com/policy/; “Information for Law Enforcement,”
https://help.instagram.com/494561080557017; and “Help Center,” https://help.instagram.com.

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Facebook account. Instagram accounts can also be connected to certain third-party websites and
mobile apps for similar functionality. For example, an Instagram user can “tweet” an image
uploaded to Instagram to a connected Twitter account or post it to a connected Facebook account
or transfer an image from Instagram to a connected image printing service. Meta maintains
records of changed Instagram usernames, associated Instagram accounts, and previous and
current connections with accounts on Meta and third-party websites and mobile apps.

26. Instagram users can “follow” other users to receive updates about their posts and
to gain access that might otherwise be restricted by privacy settings (for example, users can
choose whether their posts are visible to anyone or only to their followers). Users can also
“block” other users from viewing their posts and searching for their account, “mute” users to
avoid seeing their posts, and “restrict” users to hide certain activity and prescreen their
comments. Instagram also allows users to create a “close friends list” for targeting certain
communications and activities to a subset of followers.

27. Users have several ways to search for friends and associates to follow on
Instagram, such as by allowing Meta to access the contact lists on their devices to identify which
contacts are Instagram users. Meta retains this contact data unless deleted by the user and
periodically syncs with the user’s devices to capture changes and additions. Users can similarly
allow Meta to search an associated Facebook account for friends who are also Instagram users.
Users can also manually search for friends or associates.

28. Each Instagram user has a profile page where certain content they create and
share (“posts”) can be viewed either by the general public or only the user’s followers,
depending on privacy settings. Users can customize their profile by adding their name, a photo,

a short biography (“Bio”’), and a website address.

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29. One of Instagram’s primary features is the ability to create, edit, share, and
interact with photos and short videos. Users can upload photos or videos taken with or stored on
their devices, to which they can apply filters and other visual effects, add a caption, enter the
usernames of other users (“tag”), or add a location. These appear as posts on the user’s profile.
Users can remove posts from their profiles by deleting or archiving them. Archived posts can be
reposted because, unlike deleted posts, they remain on Meta’s servers.

30. Users can interact with posts by liking them, adding or replying to comments, or
sharing them within or outside of Instagram. Users receive notification when they are tagged in
a post by its creator or mentioned in a comment (users can “mention” others by adding their
username to a comment followed by “@”). An Instagram post created by one user may appear
on the profiles or feeds of other users depending on a number of factors, including privacy
settings and which users were tagged or mentioned.

31. An Instagram “story” is similar to a post but can be viewed by other users for only
24 hours. Stories are automatically saved to the creator’s “Stories Archive” and remain on
Meta’s servers unless manually deleted. The usernames of those who viewed a story are visible
to the story’s creator until 48 hours after the story was posted.

32. Instagram allows users to broadcast live video from their profiles. Viewers can
like and add comments to the video while it is live, but the video and any user interactions are
removed from Instagram upon completion unless the creator chooses to send the video to IGTV,
Instagram’s long-form video app.

33. Instagram Direct, Instagram’s messaging service, allows users to send private
messages to select individuals or groups. These messages may include text, photos, videos,

posts, videos, profiles, and other information. Participants to a group conversation can name the

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group and send invitations to others to join. Instagram users can send individual or group
messages with “disappearing” photos or videos that can only be viewed by recipients once or
twice, depending on settings. Senders can’t view their disappearing messages after they are sent
but do have access to each message’s status, which indicates whether it was delivered, opened, or
replayed, and if the recipient took a screenshot. Instagram Direct also enables users to video chat
with each other directly or in groups.

34. Instagram offers services such as Instagram Checkout and Facebook Pay for users
to make purchases, donate money, and conduct other financial transactions within the Instagram
platform as well as on Facebook and other associated websites and apps. Instagram collects and
retains payment information, billing records, and transactional and other information when these
services are utilized.

35. Instagram has a search function which allows users to search for accounts by
username, user activity by location, and user activity by hashtag. Hashtags, which are topical
words or phrases preceded by a hash sign (#), can be added to posts to make them more easily
searchable and can be “followed” to generate related updates from Instagram. Meta retains
records of a user’s search history and followed hashtags.

36. Meta collects and retains location information relating to the use of an Instagram
account, including user-entered location tags and location information used by Meta to
personalize and target advertisements.

ots Meta uses information it gathers from its platforms and other sources about the
demographics, interests, actions, and connections of its users to select and personalize ads,
offers, and other sponsored content. Meta maintains related records for Instagram users,

including information about their perceived ad topic preferences, interactions with ads, and

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advertising identifiers. This data can provide insights into a user’s identity and activities, and it
can also reveal potential sources of additional evidence.

38. In some cases, Instagram users may communicate directly with Meta about issues
relating to their accounts, such as technical problems, billing inquiries, or complaints from other
users. Social networking providers like Meta typically retain records about such
communications, including records of contacts between the user and the provider’s support
services, as well as records of any actions taken by the provider or user as a result of the
communications.

39. For each Instagram user, Meta collects and retains the content and other records
described above, sometimes even after it is changed by the user (including usernames, phone
numbers, email addresses, full names, privacy settings, email addresses, and profile bios and
links).

40. In my training and experience, evidence of who was using Instagram and from
where, and evidence related to criminal activity of the kind described above, may be found in the
files and records described above. This evidence may establish the “who, what, why, when,
where, and how” of the criminal conduct under investigation, thus enabling the United States to
establish and prove each element or, alternatively, to exclude the innocent from further
suspicion.

41. For example, the stored communications and files connected to an Instagram
account may provide direct evidence of the offenses under investigation. Based on my training
and experience, instant messages, voice messages, photos, videos, and documents are often
created and used in furtherance of criminal activity, including to communicate and facilitate the

offenses under investigation.

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42. In addition, the user’s account activity, logs, stored electronic communications,
and other data retained by Meta can indicate who has used or controlled the account. This “user
attribution” evidence is analogous to the search for “indicia of occupancy” while executing a
search warrant at a residence. For example, subscriber information, messaging logs, photos, and
videos (and the data associated with the foregoing, such as date and time) may be evidence of
who used or controlled the account at a relevant time. As an example, because every device has
unique hardware and software identifiers, and because every device that connects to the Internet
must use an IP address, IP address and device identifier information can help to identify which
computers or other devices were used to access the account. Such information also allows
investigators to understand the geographic and chronological context of access, use, and events
relating to the crime under investigation.

43. Account activity may also provide relevant insight into the account owner’s state
of mind as it relates to the offenses under investigation. For example, information on the account
may indicate the owner’s motive and intent to commit a crime (e.g., information indicating a
plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort
to conceal evidence from law enforcement).

44. Other information connected to the use of Instagram may lead to the discovery of
additional evidence. For example, associated and linked accounts, stored communications,
photos, and videos may reveal services used in furtherance of the crimes under investigation or
services used to communicate with co-conspirators. In addition, stored communications, contact
lists, photos, and videos can lead to the identification of co-conspirators and instrumentalities of

the crimes under investigation.

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45. Therefore, Meta’s servers are likely to contain stored electronic communications
and information concerning subscribers and their use of Instagram. In my training and
experience, such information may constitute evidence of the crimes under investigation including
information that can be used to identify the account’s user or users.

CONCLUSION

46. Based on the forgoing, I request that the Court issue the proposed search warrant.

47. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this warrant. The government will execute this warrant
by serving the warrant on Meta. Because the warrant will be served on Meta, who will then
compile the requested records at a time convenient to it, reasonable cause exists to permit the
execution of the requested warrant at any time in the day or night.

48. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &
(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that — has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)@).

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Respectfully submitted,

/s/ Carmen E. L. Basgall

 

Special Agent
ATF

Pursuant to Rule 4.1 of the Federal Rules of Criminal Procedure, the affiant appeared before me
via reliable electronic means, was placed under oath, and attested to the contents of this affidavit
this a day of August 2022.

 

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with Instagram account 910kevv (active
on, but not limited to, July 29, 2022), that is stored at premises owned, maintained, controlled, or
operated by Meta Platforms, Inc., a company headquartered at 1601 Willow Road, Menlo Park,

California.

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ATTACHMENT B

Particular Things to be Seized

1. Information to be disclosed by Meta Platforms, Inc. (“Meta”)

To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta, regardless of whether such information is located within or outside

of the United States, and including any messages, records, files, logs, or other information that

has been deleted but is still available to Meta, or has been preserved pursuant to a request made

under 18 U.S.C. § 2703(f) on July 29, 2022 (Meta Case Number 7126590), Meta is required to

disclose the following information to the government for each account or identifier listed in

Attachment A:

A. All business records and subscriber information, in any form kept, pertaining to
the account, including:

1.

Identity and contact information (past and current), including full name, e-
mail addresses, physical address, date of birth, phone numbers, gender,
hometown, occupation, websites, and other personal identifiers;

All Instagram usernames (past and current) and the date and time each
username was active, all associated Instagram and Facebook accounts
(including those linked by machine cookie), and all records or other
information about connections with Facebook, third-party websites, and
mobile apps (whether active, expired, or removed);

Length of service (including start date), types of services utilized,
purchases, and means and sources of payment (including any credit card
or bank account number) and billing records;

Devices used to login to or access the account, including all device
identifiers, attributes, user agent strings, and information about networks
and connections, cookies, operating systems, and apps and web browsers;

All advertising information, including advertising IDs, ad activity, and ad
topic preferences;

Internet Protocol (“IP”) addresses used to create, login, and use the
account, including associated dates, times, and port numbers, July 1, 2021,
to July 29, 2022;

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ds Privacy and account settings, including change history; and

8. Communications between Meta and any person regarding the account,
including contacts with support services and records of actions taken;

All content (whether created, uploaded, or shared by or with the account), records,
and other information relating to videos (including live videos and videos on
IGTV), images, stories and archived stories, past and current bios and profiles,
posts and archived posts, captions, tags, nametags, comments, mentions, likes,
follows, followed hashtags, shares, invitations, and all associated logs and
metadata, July 1, 2021, to July 29, 2022;

All content, records, and other information relating to communications sent from
or received by the account July 1, 2021, to July 29, 2022, including but not
limited to:

1. The content of all communications sent from or received by the account,
including direct and group messages, and all associated multimedia and
metadata, including deleted and draft content if available;

2. All records and other information about direct, group, and disappearing
messages sent from or received by the account, including dates and times,
methods, sources and destinations (including usernames and account
numbers), and status (such as delivered, opened, replayed, screenshot);

3. All records and other information about group conversations and video
chats, including dates and times, durations, invitations, and participants
(including usernames, account numbers, and date and time of entry and
exit); and

4. All associated logs and metadata;

All content, records, and other information relating to all other interactions
between the account and other Instagram users July 1, 2021, to July 29, 2022,
including but not limited to:

l. Interactions by other Instagram users with the account or its content,
including posts, comments, likes, tags, follows (including unfollows,
approved and denied follow requests, and blocks and unblocks), shares,
invitations, and mentions;

2. All users the account has followed (including the close friends list),
unfollowed, blocked, unblocked, muted, restricted, or denied a request to
follow, and of users who have followed, unfollowed, blocked, unblocked,
muted, restricted, or denied a request to follow the account;

3. All contacts and related sync information; and
4. All associated logs and metadata;
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All records of searches performed by the account July 1, 2021, to July 29, 2022,
and

All location information, including location history, login activity, information
geotags, and related metadata July 1, 2021, to July 29, 2022.

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IL. Information to be seized by the government

All information described above in Section I that constitutes fruits, contraband, evidence,
and instrumentalities of violations of 18 U.S.C. §§ 922(g)(1), 922(0), and 933 those violations
involving KEVIN RAY FRIER and occurring after July 1, 2021, for each account or identifier
listed on Attachment A, in the form of the following:

A. Records and information revealing, referencing, or constituting the manufacture,

possession, and sale of firearms, specifically machineguns;

B. Records and information revealing or referencing the proceeds of firearm sales;

C. Records and information revealing or referencing co-conspirators and customers;
and

D. The identity of the person(s) who created or used the account, including records

that help reveal the whereabouts of such person(s).

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF
EVIDENCE 902(11) AND 902(13)

I, , attest, under penalties of perjury by the laws

 

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. Iam employed by Meta Platforms, Inc. (“Meta”), and my

title is . Iam qualified to authenticate the records attached

 

hereto because I am familiar with how the records were created, managed, stored, and retrieved.
I state that the records attached hereto are true duplicates of the original records in the custody of
Meta. The attached records consist of [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]|. I further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Meta, and they were made by Meta as a regular practice; and

b. such records were generated by Meta’s electronic process or system that produces

an accurate result, to wit:

1. the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Meta in a manner to ensure that they are true duplicates of the original

records; and

2. the process or system is regularly verified by Meta, and at all times

pertinent to the records certified here the process and system functioned properly and normally.

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I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.

 

Date Signature

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